Case 3:21-cr-00126-SMR-SBJ Document 2 Filed 12/07/21 Page 1 of 9

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IN THE UNITED STATES DISTRICT COURT DEC 07 2004
FOR THE SOUTHERN DISTRICT OFIOWA 5
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SOUTHERN DISTRICT oF fol

) A
UNITED STATES OF AMERICA, ) Criminal No. 3:21-cr-126
)
Vv. ) INDICTMENT
)
SARAH JEAN MOSES, ) T. 21 U.S.C. § 843(a)(3)
) T. 21 U.S.C. § 846
. Defendant. ) T. 42 U.S.C. § 1820d-6(a)(3)
, ) T. 42 U.S.C. § 13820d-6(b)(2), (b)(8)
THE GRAND JURY CHARGES:
COUNT 1

(Wrongfully obtaining individually identifiable health information)

On or about October 25, 2018, in the Southern District of Iowa, defendant
SARAH JEAN MOSES, who was at that time, and at all relevant times, a registered
nurse in the State of Iowa, knowingly obtained, without authorization, individually
identifiable health information (IIHI) relating to patients with the initials FL, EC,
BF, JG, ES, and SD, such ITHI being maintained by a covered entity, as defined in
the HIPAA privacy regulation described in section 1320d—9(b)(3), that is, a hospital
in Jowa City, Iowa (Hospital I) and did so with intent to use the individually
identifiable health information for the personal gain of SARAH JEAN MOSES and
under false pretenses.

This was in violation of Title 42, United States Code, Section 1320d-6(a)(3),

(b)(2) and (b)().
Case 3:21-cr-00126-SMR-SBJ Document 2 Filed 12/07/21 Page 2 of 9

THE GRAND JURY FURTHER CHARGES:

COUNT 2
(Wrongfully obtaining individually identifiable health information)

On or about October 26, 2018, in the Southern District of Iowa, defendant
SARAH JEAN MOSES, who was at that time, and at all relevant times, a registered
nurse in the State of Iowa, knowingly obtained, without authorization, individually
identifiable health information (IIHI) relating to patients with the initials FL, KK,
EC, MV, BF, BV, ES, DB, JH, SD, TT, another and different DB, and LO, such IIHI
being maintained by a covered entity, as defined in the HIPAA privacy regulation
described in section 13820d—9(b)(8), that is, a hospital in Iowa City, Iowa (Hospital I)
and did so with intent to use the individually identifiable health information for the
personal gain of SARAH JEAN MOSES and under false pretenses.

This was in violation of Title 42, United States Code, Section 1320d-6(a)(3),

(b)(2) and (b)(3).

THE GRAND JURY FURTHER CHARGES:

COUNT 3
(Wrongfully obtaining individually identifiable health information)

On or about November 2, 2018, in the Southern District of Jowa, defendant
SARAH JEAN MOSES, who was at that time, and at all relevant times, a registered
nurse in the State of Iowa, knowingly obtained, without authorization, individually
identifiable health information (IIHIJ) relating to patients with the initials LO, TM,

NB, and LW, such ITHI being maintained by a covered entity, as defined in the
Case 3:21-cr-00126-SMR-SBJ Document 2 Filed 12/07/21 Page 3 of 9

HIPAA privacy regulation described in section 1320d—9(b)(3), that is, a hospital in
Iowa City, Iowa (Hospital I) and did so with intent to use the individually identifiable
health information for the personal gain of SARAH JEAN MOSES and under false
pretenses.

This was in violation of Title 42, United States Code, Section 1320d-6(a)(38),

(b)(2) and (b)(8).

THE GRAND JURY FURTHER CHARGES:

COUNT 4
(Wrongfully obtaining individually identifiable health information)

On or about November 8, 2018, in the Southern District of Iowa, defendant
SARAH JEAN MOSES, who was at that time, and at all relevant times, a registered
nurse in the State of Iowa, knowingly obtained, without authorization, individually
identifiable health information (THI) relating to patients with the initials AB, TP,
FN, FB, DC, JS, BT, LB, OR, and JG, such ITHI being maintained by a covered entity,
as defined in the HIPAA privacy regulation described in section 1820d—9(b)(8), that
is, a hospital in Iowa City, Iowa (Hospital I) and did so with intent to use the
individually identifiable health information for the personal gain of SARAH JEAN
MOSES and under false pretenses.

This was in violation of Title 42, United States Code, Section 1320d-6(a)(3),

(b)(2) and (b)(8).
Case 3:21-cr-00126-SMR-SBJ Document 2 Filed 12/07/21 Page 4 of 9

THE GRAND JURY FURTHER CHARGES:

COUNT 5
(Wrongfully obtaining individually identifiable health information)

On or about November 9, 2018, in the Southern District of Iowa, defendant
SARAH JEAN MOSES, who was at that time, and at all relevant times, a registered
nurse in the State of Iowa, knowingly obtained, without authorization, individually
identifiable health information (IIH]) relating to patients with the initials PS, AD,
GO, JK, TP, DC, BD, LB, OR, JG, another and different DC, and JE, such ITHI being
maintained by a covered entity, as defined in the HIPAA privacy regulation described
in section 1320d—9(b)(8), that is, a hospital in Iowa City, Iowa (Hospital I) and did so
with intent to use the individually identifiable health information for the personal
gain of SARAH JEAN MOSES and under false pretenses.

This was in violation of Title 42, United States Code, Section 1320d-6(a)(8),

(b)(2) and (b)(8).

THE GRAND JURY FURTHER CHARGES:

COUNT 6
(Wrongfully obtaining individually identifiable health information)

On or about November 10, 2018, in the Southern District of Iowa, defendant
SARAH JEAN MOSES, who was at that time, and at all relevant times, a registered
nurse in the State of Iowa, knowingly obtained, without authorization, individually
identifiable health information (IHD) relating to patients with the initials MH, DC,

BD, OR, another and different DC, LB, DG, CJ, DB, RS, and SF, such ITHI being
4
Case 3:21-cr-00126-SMR-SBJ Document 2 Filed 12/07/21 Page 5of9

maintained by a covered entity, as defined in the HIPAA privacy regulation described
in section 1320d—9(b)(3), that is, a hospital in Iowa City, Iowa (Hospital I) and did so
with intent to use the individually identifiable health information for the personal
gain of SARAH JEAN MOSES and under false pretenses.

This was in violation of Title 42, United States Code, Section 1320d-6(a)(3),

(b)(2) and (b)(8).

THE GRAND JURY FURTHER CHARGES:

COUNT 7
(Wrongfully obtaining individually identifiable health information)

On or about November 13, 2018, in the Southern District of Iowa, defendant
SARAH JEAN MOSES, who was at that time, and at all relevant times, a registered
nurse in the State of Iowa, knowingly obtained, without authorization, individually
identifiable health information (THD) relating to patients with the initials MH, GO,
DL, PT, DB, KH, DF, HZ, BC, NH, NB, RS, MN, and RM, such ITHI being maintained
by a covered entity, as defined in the HIPAA privacy regulation described in section
1320d—9(b)(3), that is, a hospital in Iowa City, lowa (Hospital I) and did so with intent
to use the individually identifiable health information for the personal gain of SARAH
JEAN MOSES and under false pretenses.

This was in violation of Title 42, United States Code, Section 13820d-6(a)(8),

(b)(2) and (b)(3).
Case 3:21-cr-00126-SMR-SBJ Document 2 Filed 12/07/21 Page 6 of 9

THE GRAND JURY FURTHER CHARGES:

COUNT 8
(Wrongfully obtaining individually identifiable health information)

On or about November 15, 2018, in the Southern District of Iowa, defendant
SARAH JEAN MOSES, who was at that time, and at all relevant times, a registered
nurse in the State of Iowa, knowingly obtained, without authorization, individually
identifiable health information (IIHI) relating to patients with the initials MH, KH,
LH, CR, SF, LS, KP, ES, RB, FM, JK, and RD, such ITHI being maintained by a
covered entity, as defined in the HIPAA privacy regulation described in section
1320d—9(b)(3), that is, a hospital in Iowa City, lowa (Hospital I) and did so with intent
to use the individually identifiable health information for the personal gain of SARAH
JEAN MOSES and under false pretenses.

This was in violation of Title 42, United States Code, Section 1320d-6(a)(3),

(b)(2) and (b)(8).

THE GRAND JURY FURTHER CHARGES:

COUNT 9
(Wrongfully obtaining individually identifiable health information)

On or about November 16, 2018, in the Southern District of Iowa, defendant
SARAH JEAN MOSES, who was at that time, and at all relevant times, a registered
nurse in the State of Iowa, knowingly obtained, without authorization, individually
identifiable health information (IHD relating to patients with the initials MH, LH,

SF, LS, RB, FM, GP, JL, and ES, such JIHI being maintained by a covered entity, as
Case 3:21-cr-00126-SMR-SBJ Document 2 Filed 12/07/21 Page 7 of 9

defined in the HIPAA privacy regulation described in section 1320d—9(b)(3), that is,
a hospital in lowa City, Iowa (Hospital I) and did so with intent to use the individually
identifiable health information for the personal gain of SARAH JEAN MOSES and
under false pretenses.

This was in violation of Title 42, United States Code, Section 1320d-6(a)(3),

(b)(2) and (b)(8).

THE GRAND JURY FURTHER CHARGES:
COUNT 10

(Acquiring and Attempting to Acquire a Controlled Substance
by Misrepresentation, Fraud, Deception, or Subterfuge)

On or about November 20, 2018, in the Southern District of Iowa, defendant
SARAH JEAN MOSES, who was at that time, and at all relevant times, a registered
nurse in the State of Iowa, did knowingly and intentionally acquire, obtain, and
attempt to acquire and obtain hydromorphone, a Schedule II controlled substance, by
misrepresentation, fraud, deception, and subterfuge.

This was in violation of Title 21, United States Code, Sections 843(a)(8) and
846.
Case 3:21-cr-00126-SMR-SBJ Document 2 Filed 12/07/21 Page 8 of 9

THE GRAND JURY FURTHER CHARGES:

COUNT 11
(Wrongfully obtaining individually identifiable health information)

On or about March 18, 2019, in the Southern District of Iowa, defendant
SARAH JEAN MOSES, who was at that time, and at all relevant times, a registered
nurse in the State of Iowa, knowingly obtained, without authorization, individually
identifiable health information (IIHI) relating to patients with the initials DS, LH,
JS, GN, CO, DP, ML, KK, KB, RS, DG, JR, KD, AH, JB, JP, and another and different
DS, such ITHI being maintained by a covered entity, as defined in the HIPAA privacy
regulation described in section 1320d—9(b)(8), that is, a hospital in Iowa City, Iowa
(Hospital II) and did so with intent to use the individually identifiable health
information for the personal gain of SARAH JEAN MOSES and under false
pretenses.

This was in violation of Title 42, United States Code, Section 1820d-6(a)(8),

(b)(2) and (b)(8).

THE GRAND JURY FURTHER CHARGES:
COUNT 12
(Acquiring and Attempting to Acquire a Controlled Substance
by Misrepresentation, Fraud, Deception, or Subterfuge)
On or about March 13, 2019, in the Southern District of Iowa, defendant
SARAH JEAN MOSES, who was at that time, and at all relevant times, a registered

nurse in the State of Iowa, did knowingly and intentionally acquire, obtain, and
Case 3:21-cr-00126-SMR-SBJ Document 2 Filed 12/07/21 Page 9 of 9

attempt to acquire and obtain morphine, a Schedule II controlled substance, by

misrepresentation, fraud, deception, and subterfuge.
This was in violation of Title 21, United States Code, Sections 843(a)(3) and

846.

A TRUE BILL.

 

FOREPERSON

ener D. Westphal

R. Cronk ITI
fant United States Attorney

 
